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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRIC OF KANSAS
                               AT KANSAS CITY

MICHELE LAWSON,                                              )
                                                             )
                              Plaintiff,                     )
                                                             )
v.                                                           )
                                                             )
KANSAS CITY, KANSAS PUBLIC SCHOOLS                           )
                                                             )
                              Defendant.                     )


                            PLAINTIFF’S PETITION FOR DAMAGES

       COMES NOW, Plaintiff Michele Lawson, through undersigned counsel, and in support of her

Petition against Defendant Kansas City, Kansas Public Schools, states, alleges, and avers as follows:

                                     GENERAL ALLEGATIONS

       1.      Plaintiff is a Kansas resident, residing in Wyandotte County.

       2.      Defendant Kansas City, Kansas, Public Schools is a Kansas public entity.

       3.      Plaintiff worked for Plaintiff from the Fall of 2017 to the Spring of 2018.

       4.      In March, 2018, Plaintiff requested leave time for the last week in March.

       5.      At that time, Plaintiff’s supervisor asked her why she needed to take leave

and Plaintiff responded that the leave was to care for an indigent and dying former

relative.

       6.      Plaintiff’s supervisor, Angela Monroe, and the leave administrator,

Stephanie Pepper approved the leave time.

       7.      At the time of Plaintiff’s leave request, Plaintiff clearly stated that she may

need additional days extending past the original requested time.

       8.      Because all employees are given sick, vacation, and personal days at the

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time of hire, with immediate access to use of those days, Plaintiff was told by the leave

administration team (Stephanie Pepper, Elizabeth Faircloth & DeJanee Harris), as well

as her supervisor, that her request could be approved.

      9.       On April 4, 2018, Plaintiff contacted Elizabeth Faircloth via email to request

two additional days of leave and to request a return to work date.

      10.      Faircloth informed Plaintiff that she would be required to use disability

(sick) days and that she required documentation.

      11.      Plaintiff replied to Faircloth stating that the KCKPS employee handbook

required documentation only for the use of three (3) consecutive disability days. Since

Plaintiff was only using two (2) days, no documentation was required from Plaintiff, and

Plaintiff asked Faircloth to verify this information.

      12.      In response, Faircloth informed Plaintiff that Plaintiff was correct about the

employee handbook policy; however, the leave administration team was choosing to

reserve the right to request information and documentation from anybody.

      13.      On April 13, 2018, Plaintiff received a check, paying her for all of her

requested and approved leave time.

      14.      Shortly thereafter, Plaintiff gave notice of her intent to resign, and advised

that her last day would be April 27, 2018.

      15.      Because Plaintiff still had additional leave time, she used that leave for a

dental appointment. As with the previous requests, this leave was approved by her

supervisor.

      16.      On April 26, 2018, during Plaintiff’s dental appointment, she texted her

supervisor that her appointment was taking longer than expected. Plaintiff’s supervisor
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responded positively and told her that she would see her on my last day, April 27, 2018.

        17.      An hour or so later, Plaintiff’s supervisor emailed her not to come in on her

last day.

        18.      Plaintiff’s final paycheck was deposited into my account on April 27, 2018.

        19.      The check was one third of Plaintiff’s usual pay.

        20.      When Plaintiff went to her former supervisor to find out why her check had

funds deducted, Plaintiff was told that she owed the district for the leave days that were

approved and paid for on her April 13, 2018 check.

        21.      Plaintiff further inquired, “Is this about the time that I took to care for my

ex relative?”

        22.      She was told that it was.

        23.      Plaintiff was then told that the days taken to care for Plaintiff’s relative

needed come from her final check.

        24.      Plaintiff has been discriminated against on the basis of a relative’s

disability.

        25.      In addition, Plaintiff believes that the company retaliated against her for

taking disability time, by wrongly docking her pay.

        26.      Further, Plaintiff believes that the Defendant harassed her and subjected

her to a hostile work environment on the basis of, and retaliation for taking the disability

time.

        27.      At all times relevant hereto, Defendant has employed more than 15 employees.

        28.      The Court has original subject matter jurisdiction over all of the Plaintiff’s claims.

        29.      Further, in so far as the Defendant, at all times pertinent hereto, conducted and continues
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to conduct business in Johnson County, Kansas, Kansas City is the proper division.

        30.      Plaintiff timely filed a charge of discrimination with the Equal Opportunity Employment

Commission (hereinafter, “EEOC”), asserting discrimination based on disability, retaliation, and hostile

work environment. The EEOC charge number is 563-2018-02996. The allegations asserted in the

charge are incorporated, by reference, as if more fully set forth herein.

        31.      On March 27, 2019, the EEOC issued a notice of Right to Sue.

        32.      This action is timely commenced, as it has been filed within 90 days of the receipt of the

afore mentioned “Right to Sue” letter. Thus, Plaintiff has duly met all administrative requirements.

        33.      The actions of Defendant and its agents and employees were willful and malicious, the

result of evil motive, or in reckless indifference to Plaintiff’s rights. Thus, Plaintiff is entitled to

punitive damages, as determined by a jury.

                               COUNT I. DISABILITY DISCRIMINATION

        34.      Plaintiff incorporates all the preceding paragraphs and allegations by reference as if

more fully set forth herein.

        35.      Plaintiff’s relative suffered impairment and/or alteration of a major life activity, and was

perceived to be disabled as a result thereof.

        36.      Plaintiff, while employed by Defendant, was the subject of adverse action and

discrimination by Defendant on the basis of the relative’s disability, on a continuous basis.

        37.      Defendant’s acts of discrimination include, but are not limited to, one or more of the

following:

                 a. Subjecting Plaintiff to a severe and pervasive hostile work environment;

                 b. Docking or otherwise withholding Plaintiff’s pay.

        38.      The discriminatory acts listed herein are motivated by the disability set forth herein.

        39.      As a direct and proximate cause of the actions and conduct set forth herein, Plaintiff is
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now suffering and will continue to suffer damages, including lost wages and benefits, emotional

distress, pain and suffering, inconvenience, and loss of enjoyment of life.

       40.      Plaintiff’s damages for all counts exceed $25,000.00.

       WHEREFORE, Plaintiff prays for judgment against Defendant on Count I of her Petition, for

all actual damages and losses shown in evidence, and determined by a jury to be reasonable and fair,

including, but not limited to: an award of back pay, including lost fringe benefits, bonuses, and cost of

living increases; an award of front pay; for any other compensatory damages; for pre-judgment interest;

for punitive damages, attorneys’ fees, and all other damages, expenses, and costs incurred, and for other

relief as the Court deems proper and just.

                      COUNT II:      DISABILITY DISCRIMINATION RETALIATION

       41.      The allegations asserted in the foregoing paragraphs are reasserted and incorporated by

reference, as if more fully set forth herein.

       42.      Defendant had knowledge of Plaintiff’s relative’s disabilities and the fact that Plaintiff

was being harassed. Plaintiff reported this to her supervisor.

       43.      Further, Plaintiff took time off of work to tend to her disabled relative- time that was

granted by Defendant.

       44.      Plaintiff engaged in protected activity.

       45.      Despite this, Defendant withheld Plaintiff’s pay in violation of Defendant’s own policies

and procedures.

       46.      The adverse actions of the Defendant, toward the Plaintiff, were due to the Plaintiff’s

protected activity.

       47.      As a direct and proximate cause of the actions and conduct set forth herein, Plaintiff is

now suffering and will continue to suffer damages, including lost wages and benefits, emotional

distress, pain and suffering, inconvenience, and loss of enjoyment of life.
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       48.      Plaintiff’s damages exceed $25,000.00.

       WHEREFORE, Plaintiff prays for judgment against Defendant on Count II of her Petition, for

all actual damages and losses shown in evidence, and determined by a jury to be reasonable and fair,

including, but not limited to: an award of back pay, including lost fringe benefits, bonuses, and cost of

living increases; an award of front pay; for any other compensatory damages; for pre-judgment interest;

for punitive damages, attorneys’ fees, and all other damages, expenses, and costs incurred, and for other

relief as the Court deems proper and just.

                              COUNT III: BREACH OF CONTRACT

       49.      The Plaintiff incorporates by reference the previous paragraphs as though more fully set

forth herein.

       50.      The Plaintiff and Defendant had an employment contract.

       51.      The Defendant breached the employment contract by withholding Plaintiff’s pay.

       52.      The Plaintiff mitigated her damages.

       53.      The Plaintiff has sustained damages as a direct and proximate cause of the Defendants’

behavior.

       WHEREFORE, the Plaintiff requests the Court to enter a judgment against the Defendant on

Count III of her Complaint, for damages incurred, including statutory liquidated damages pursuant to

the Kansas Wage Payment Act, for pre-judgment interest, for costs and for such other and further relief

as the Court may deem just and equitable.

                                       JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury on all applicable issues, counts, and claims asserted in

this Cause of Action.



                                              Respectfully Submitted,
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                               /s/ Phillip M. Murphy II_________________
                          PHILLIP M. MURPHY II               #23770
                          4717 Grand Ave., Ste. 250
                          Kansas City, MO 64112
                          Phone: (913) 661-2900
                          Fax: (913) 312-5841
                          E-mail: phillip@phillilpmurphylaw.com
                          ATTORNEYS FOR PLAINTIFFS




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